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12

13                              UNITED STATES DISTRICT COURT
14                             EASTERN DISTRICT OF CALIFORNIA
     UNITED STATES OF AMERICA,                  Case No. 2:19-cr-00107-KJM
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                  Plaintiff,
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                                                NOTICE OF FILING EX PARTE AND
           v.
17                                              UNDER SEAL – LOCAL RULE 141
     RONALD YANDELL,
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                  Defendant.                    Hon. Kimberly J. Mueller, Chief
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                                                District Court Judge
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             Case 2:19-cr-00107-KJM Document 2018 Filed 03/19/24 Page 2 of 2



 1
            Defendant Ronald Yandell, through his attorneys of record, provides notice that a
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     Applications for Writ of Habeas Corpus Ad Testificandum are being filed. The defense
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     requests the Applications for Writ of Habeas Corpus Ad Testificandum be filed under seal, as
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     they contain privileged materials. Such privileges include, but are not limited to, the work
 5
     product and attorney-client privilege. The Applications to Seal and Proposed Order will be
 6
     electronically mailed to the Court for consideration as prescribed by Local Rule 141(b).
 7
            DATED this 19th day of March 2024.
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 9                                                        Respectfully submitted,

10                                                        Rene L. Valladares
                                                          Federal Public Defender
11
                                                          /s/ Sean A. McClelland
12                                                        SEAN A. McCLELLAND
                                                          Assistant Federal Public Defender
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14

15                                                        Assistant Federal Public Defender
                                                          Law Office of Steven Kalar
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17                                                        /s/ Steven G. Kalar
                                                          STEVEN G. KALAR
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